                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT

In the matter of:
 JOSEPH G. DUMOUCHELLE, and                      Bankruptcy Petition No. 19-54531
 MELINDA J. ADDUCCI,                                        Hon. Lisa S. Gretchko
                  Debtor(s)                                              Chapter 7

TEODOR GELOV,                                              Adv. Pro. No. 20-04172
              Plaintiff,                                    Hon. Lisa S. Gretchko
v.
JOSEPH G. DUMOUCHELLE, and
MELINDA J. ADDUCCI,
              Defendant(s)


           DEFENDANTS’ MOTION FOR PROTECTIVE ORDER

      NOW COME the Defendants, JOSEPH G. DUMOUCHELLE and

MELINDA J. ADDUCCI, (collectively “Debtors” or “Defendants”), by and through

their counsel, JOHN R. FOLEY, P.C., who hereby move this Court for entry of a

Protective Order, in substantially the form attached hereto as Exhibit 1.

      Defendants, through their counsel, for their motion, state as follows:

      1.     Defendants bring this motion pursuant to Fed.R.Civ.P. 26(c) made

applicable to this proceeding by Fed.R.Bankr.P. 7026, for a protective order limiting

the scope of Plaintiff’s discovery.

      2.     Fed.R.Civ.Pro. 26(c)(1) stated, in pertient part, "The court may, for

good cause, issue an order to protect a party or person from annoyance,



                                                                            1|Page

 20-04172-lsg   Doc 132    Filed 03/16/23   Entered 03/16/23 16:40:35   Page 1 of 32
embarrassment, oppression, or undue burden or expense, including one or more of

the following: (A) forbidding the disclosure or discovery[.]"

      3.      Specifically, Defendants seek an Order limiting discovery such that

Plaintiff may not obtain:

           a. certain computers or electronic devices which contain attorney client

              privileged communications and/or communications between husband

              and wife, protected by spousal privilege, and which do not contain

              information relevant to or related to Plaintiff’s claims or the proof

              thereof; and

           b. certain electronic login information for certain “cloud-based systems”

              (as requested by Plaintiff), which again likely contain spousal

              privileged or attorney-client privileged communications, but nothing

              relevant to Plaintiff’s relevant to or related to Plaintiff’s claims or the

              proof thereof; and

           c. information related to the “who” is funding Defendants’ litigation in

              this case.

      4.      On February 14, 2023, Plaintiff propounded discovery requests to

Defendants. [ECF No. 126], Exhibit 6.

      5.      Amongst the requests are the following:

           • Int #8. Identify the current location of all computers and servers used
             by Defendants or their Affiliates during the years 2016-2022 and if no
                                                                               2|Page

 20-04172-lsg    Doc 132     Filed 03/16/23   Entered 03/16/23 16:40:35   Page 2 of 32
              longer in Defendants’ or their Affiliates’ possession, the disposition
              made of each, the date of disposition and the method of disposition.

           • Int #9. Provide all valid usernames and corresponding passwords to all
             cloud-based systems used by Defendants or their Affiliates during the
             years 2016-2022, including QuickBooks, RMC, RFC, and ACT.

           • Int #14. Identify the persons funding Defendants’ defense of this
             litigation.

           • Request for Documents #7. Produce all computers and computer
             servers utilized or accessed by either of Defendants or their employees
             during the period 2016-2022, including those owned personally and
             those of DuMouchelle Jewellers.

      6.      Defendant Joseph DuMouchelle has been granted a 2 week extension

to respond. Defendant Melinda is filing her responses today. In her responses,

Melinda has objected to these requests, and noted that this motion is being filed.

      7.      Further, Melinda points out that :

           a. Int #8. “Identify the current location of all computers and servers …”
                 i. Melinda does not have any of these computers, and instead has 2
                    laptops in her possession, both purchased after the
                    commencement of the bankruptcy case, and after Mr. Gelov had
                    already sued the Defendants in state court. These were used by
                    Joe and Melinda to communicate between themselves, and their
                    attorneys, and for Melinda, for work and classes she took. They
                    definitely contain privileged materials, and contain none of the
                    evidence that Plaintiff seeks.

           b. Int #9. Provide all valid usernames and corresponding passwords to all
              cloud-based systems used by Defendants or their Affiliates during the
              years 2016-2022, including QuickBooks, RMC, RFC, and ACT.

                 i. Melinda has already pointed out in her discovery responses that
                    she does not have this information, at least as it related to the
                    time period 2019 and prior. Plaintiff’s state court case was filed

                                                                            3|Page

 20-04172-lsg    Doc 132   Filed 03/16/23   Entered 03/16/23 16:40:35   Page 3 of 32
                    in March of 2019, and this bankruptcy case in October 2019.
                    Assuming that things such as her personal email account

           c. Int #14. Identify the persons funding Defendants’ defense of this
              litigation.

                 i. The requested information is irrelevant in any way to Plaintiff’s
                    proving of his case, and is not calculated to lead to any such
                    information. As Melinda disclosed, the undersigned’s law firm
                    has only been paid $10,000 total to date, which payments were
                    made back in 2020, using borrowed/gifted money. Melinda
                    objects to providing the name(s) of the person(s) who gifted/lent
                    Defendants the funds to pay the retain to their lawyer for the
                    reason that Plaintiff, Ted Gelov, has threatened members of
                    Defendants’ family that he would “come after them” if they help
                    the Defendants.
           d. Int #7. Produce all computers and computer servers utilized or accessed
              by either of Defendants or their employees during the period 2016-
              2022, including those owned personally and those of DuMouchelle
              Jewellers.
                i. As Melinda points out in her discovery response: Any and all
                   computers relevant to the time period of the facts in Plaintiff’s
                   Complaint, which ends when Plaintiff sued in State Court on
                   March 2019, are in the possession of either the government, the
                   business case trustee, or the personal bankruptcy chapter 7 trustee.
                   Melinda should not be made to turn over the 2 laptops in her
                   possession, both purchased after the commencement of the
                   bankruptcy case, and after Mr. Gelov had already sued the
                   Defendants in state court. These were used by Joe and Melinda to
                   communicate between themselves, and their attorneys, and for
                   Melinda, for work and classes she took. They definitely contain
                   privileged materials, and contain none of the evidence that
                   Plaintiff seeks.

      8.      Pursuant to the requirements of FRCP 26(c)(1), Movant has in good

faith conferred or attempted to confer with other affected parties in an effort to

resolve the dispute without court action.
                                                                             4|Page

 20-04172-lsg    Doc 132    Filed 03/16/23   Entered 03/16/23 16:40:35   Page 4 of 32
      WHEREFORE, Defendants request that this Court enter a Protective Order,

in substantially the form attached hereto as Exhibit 1.



                                       Respectfully submitted,
                                       JOHN R. FOLEY, P.C.
                                       Counsel for Defendants


                                       By: /s/ Patrick A. Foley
      Date: March 16, 2023             Patrick A. Foley, Esq. (P74323)
                                       18572 W. Outer Drive
                                       Dearborn, MI 48128
                                       Phone: (313) 274-7377
                                       Fax: (313) 274-5946
                                       Email: pafoley@jrfpc.net




                                                                            5|Page

 20-04172-lsg   Doc 132    Filed 03/16/23   Entered 03/16/23 16:40:35   Page 5 of 32
                  Exhibit 1
               Proposed Order




20-04172-lsg   Doc 132   Filed 03/16/23   Entered 03/16/23 16:40:35   Page 6 of 32
                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT

In the matter of:
 JOSEPH G. DUMOUCHELLE, and                     Bankruptcy Petition No. 19-54531
 MELINDA J. ADDUCCI,                                       Hon. Lisa S. Gretchko
                  Debtor(s)                                             Chapter 7

TEODOR GELOV,                                             Adv. Pro. No. 20-04172
              Plaintiff,                                   Hon. Lisa S. Gretchko
v.
JOSEPH G. DUMOUCHELLE, and
MELINDA J. ADDUCCI,
              Defendant(s)


                             PROTECTIVE ORDER

      THIS MATTER having come before the Court on Defendants’ Motion for a

Protective Order (the “Motion”); notice having been proper; no response or

objection having been timely filed, or any response or objection having been denied

at hearing; and the Court being otherwise duly advised in the premises;

      NOW THEREFORE;

      IT IS HEREBY ORDERED as follows:

   1. That Defendant’s Motion is GRANTED.

   2. That:

         a. Plaintiff is not entitled to any computers or electronic devices which

              contain   attorney   client   privileged   communications     and/or

              communications between husband and wife, protected by spousal

                                      Page 1 of 3
 20-04172-lsg    Doc 132   Filed 03/16/23 Entered 03/16/23 16:40:35   Page 7 of 32
           privilege, and which do not contain information relevant to or related

           to Plaintiff’s claims or the proof thereof, specifically, those computers

           purchase by Defendants after March 2019, and used to communicate

           with their attorneys in their legal matters.

        b. Plaintiff is not entitled to any electronic login information for certain

           “cloud-based systems” (as requested by Plaintiff), for email accounts

           or other communication systems used by the Defendants to

           communicate with each other or with their attorneys.

        c. Plaintiff is not entitled to information related to the “who” provided

           Defendants with the funds by which they retained and paid their

           attorneys in this case.

 3. That Plaintiff’s discovery requests to Defendants, specifically:

               i. Int #8. Identify the current location of all computers and servers

                  used by Defendants or their Affiliates during the years 2016-

                  2022 and if no longer in Defendants’ or their Affiliates’

                  possession, the disposition made of each, the date of disposition

                  and the method of disposition.

               ii. Int #9. Provide all valid usernames and corresponding passwords

                  to all cloud-based systems used by Defendants or their Affiliates

                  during the years 2016-2022, including QuickBooks, RMC, RFC,



                                    Page 2 of 3
20-04172-lsg   Doc 132   Filed 03/16/23 Entered 03/16/23 16:40:35      Page 8 of 32
                   and ACT.

               iii. Int #14. Identify the persons funding Defendants’ defense of this

                   litigation.

               iv. Request to Produce #7. Produce all computers and computer

                   servers utilized or accessed by either of Defendants or their

                   employees during the period 2016-2022, including those owned

                   personally and those of DuMouchelle Jewellers.

        b. … are modified such that the end date of each request shall be March

           19, 2019.

        c. Interrogatory No. 14 is deemed stricken.

    IT IS SO ORDERED.




                                      Page 3 of 3
20-04172-lsg    Doc 132    Filed 03/16/23 Entered 03/16/23 16:40:35    Page 9 of 32
         Exhibit 2
   Notice & Opportunity
        to Respond




20-04172-lsg   Doc 132   Filed 03/16/23   Entered 03/16/23 16:40:35   Page 10 of 32
                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION - DETROIT

In the matter of:
JOSEPH G. DUMOUCHELLE, and                                                    Bankruptcy Petition No. 19-54531
MELINDA J. ADDUCCI,                                                                      Hon. Lisa S. Gretchko
                  Debtor(s)                                                                           Chapter 7

TEODOR GELOV,                                                                           Adv. Pro. No. 20-04172
                         Plaintiff,                                                      Hon. Lisa S. Gretchko
v.
JOSEPH G. DUMOUCHELLE, and
MELINDA J. ADDUCCI,
                  Defendant(s)


                      NOTICE OF MOTION AND OPPORTUNITY TO RESPOND

        PLEASE TAKE NOTICE that Defendants JOSEPH G. DUMOUCHELLE and MELINDA J.
ADDUCCI, have filed with the Court a motion for a protective order regarding Plaintiff’s discovery requests.
        Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one. (If you do not have an attorney, you may wish to consult one.)
        If you do not want the Court to grant Defendants’ Motion, or if you want the Court to consider your
views on Defendants’ Motion, within 14 days, you or your attorney must file the court a written response* or
an answer*, explaining your position at:
    •   United States Bankruptcy Court, 211 W. Fort Street, 17th Floor, Detroit, MI 48226.
        If you mail your response to the Court for filing, you must mail it early enough so the Court will
receive it on or before the date stated above, and you must mail a copy to:
    •   Patrick A. Foley, John R. Foley, P.C., 18572 W. Outer Dr., Dearborn, MI 48128.
    •   Office of the U.S. Trustee, 211 W. Fort St., Suite 700, Detroit, MI, 48226.
        If you or your attorney do not take these steps, the court may decide that you do not oppose the relief

sought in the motion or objection and may enter an order granting relief.

                                                   Respectfully submitted,
                                                   JOHN R. FOLEY, P.C.
                                                   Counsel for Defendants

                                                   By: /s/ Patrick A. Foley
        Date: March 16, 2023                       Patrick A. Foley, Esq. (P74323)
                                                   18572 W. Outer Drive
                                                   Dearborn, MI 48128
                                                   Phone: (313) 274-7377
                                                   Email: pafoley@jrfpc.net

*Response or answer must comply with FED. R. CIV. P. 8(b), (c) and (e).

                                                                                               1 | Page

20-04172-lsg        Doc 132           Filed 03/16/23    Entered 03/16/23 16:40:35            Page 11 of 32
                  Exhibit 3
               Brief in Support




20-04172-lsg   Doc 132   Filed 03/16/23   Entered 03/16/23 16:40:35   Page 12 of 32
                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT

In the matter of:
 JOSEPH G. DUMOUCHELLE, and                      Bankruptcy Petition No. 19-54531
 MELINDA J. ADDUCCI,                                        Hon. Lisa S. Gretchko
                  Debtor(s)                                              Chapter 7

TEODOR GELOV,                                              Adv. Pro. No. 20-04172
              Plaintiff,                                    Hon. Lisa S. Gretchko
v.
JOSEPH G. DUMOUCHELLE, and
MELINDA J. ADDUCCI,
              Defendant(s)


                     BRIEF IN SUPPORT OF
           DEFENDANTS’ MOTION FOR PROTECTIVE ORDER

      NOW COME the Defendants, JOSEPH G. DUMOUCHELLE (“Joe”) and

MELINDA J. ADDUCCI, (“Lindy”), (collectively “Defendants”), by and through

their counsel, JOHN R. FOLEY, P.C., and in support of their Motion for a Protective

Order, (“Motion”), state as follows:

      Defendants rely on the rules and argument set forth in their Motion. Defendant

incorporate the same as though fully set forth herein.

      WHEREFORE, Defendants request that this Court enter a Protective Order,

similar in the form to the one attached hereto as Exhibit 1, and grant such other or

further relief as this Court may deem appropriate.

                           (Signature on following page)


                                      Page 1 of 2
20-04172-lsg   Doc 132    Filed 03/16/23 Entered 03/16/23 16:40:35    Page 13 of 32
                                     Respectfully submitted,
                                     JOHN R. FOLEY, P.C.
                                     Counsel for Defendants

                                     By: /s/ Patrick A. Foley
     Date: March 16, 2023            Patrick A. Foley, Esq. (P74323)
                                     18572 W. Outer Drive
                                     Dearborn, MI 48128
                                     Phone: (313) 274-7377
                                     Email: pafoley@jrfpc.net




                                     Page 2 of 2
20-04172-lsg   Doc 132   Filed 03/16/23 Entered 03/16/23 16:40:35   Page 14 of 32
                  Exhibit 4
               Proof of Service




20-04172-lsg   Doc 132   Filed 03/16/23   Entered 03/16/23 16:40:35   Page 15 of 32
                 UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF MICHIGAN
                   SOUTHERN DIVISION - DETROIT

In the matter of:
 JOSEPH G. DUMOUCHELLE, and                     Bankruptcy Petition No. 19-54531
 MELINDA J. ADDUCCI,                                       Hon. Lisa S. Gretchko
                  Debtor(s)                                             Chapter 7

    TEODOR GELOV,                                         Adv. Pro. No. 20-04172
                  Plaintiff,                               Hon. Lisa S. Gretchko
    v.
    JOSEPH G. DUMOUCHELLE, and
    MELINDA J. ADDUCCI,
                  Defendant(s)


                             PROOF OF SERVICE

      Patrick A. Foley hereby certifies that on March 16, 2023 he did serve a copy
of the foregoing Motion for a Protective Order including all attachments and
exhibits thereto, upon the following parties via the Court’s CM/ECF e-Filing system:

•    Kimberly Ross Clayson      kclayson@taftlaw.com, ttorni@taftlaw.com
•    Jay L. Welford             jwelford@taftlaw.com, ttorni@taftlaw.com

                                             Respectfully Submitted,
                                             JOHN R. FOLEY, P.C.
                                             Counsel for Defendants

             Dated: March 16, 2023           By: /s/ Patrick A. Foley
                                             Patrick A. Foley (P74323)
                                             18572 W. Outer Drive
                                             Dearborn, MI 48128
                                             Phone: (313) 274-7377
                                             Email: pafoley@jrfpc.net




                                      Page 1 of 1
20-04172-lsg   Doc 132    Filed 03/16/23 Entered 03/16/23 16:40:35   Page 16 of 32
                         Exhibit 5
                         Affidavits

    (None by Defendant)




20-04172-lsg   Doc 132   Filed 03/16/23   Entered 03/16/23 16:40:35   Page 17 of 32
       Exhibit 6
  Documentary Exhibits




20-04172-lsg   Doc 132   Filed 03/16/23   Entered 03/16/23 16:40:35   Page 18 of 32
                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:
                                                     Chapter 7
Joseph G. DuMouchelle and
Melinda J. Adducci                                   Case No. 19-54531-lsg

                                                     Honorable Lisa S. Gretchko
          Debtors.
____________________________________/

Teodor Gelov

                    Plaintiff,

v.

Joseph G. DuMouchelle and                            Adversary Pro. No. 20-04172
Melinda J. Adducci

     Defendants.
____________________________________/

  PLAINTIFF’S FIRST SET OF INTERROGATORIES AND DOCUMENT
                  REQUESTS TO DEFENDANTS

         Plaintiff Teodor Gelov (“Plaintiff”) through his undersigned counsel, serves

the following First Set of Interrogatories and Document Requests (collectively, the

“Discovery Requests”) upon each of defendants Joseph DuMouchelle and Melinda

Adducci, pursuant to Fed. R. Bankr. P. 7033/Fed. R. Civ. P. 33 and Fed. R. Bankr.

P. 7034/Fed. R. Civ. P. 34 (the “Applicable Rules”). Defendants shall each submit

their responses within 30 days of the date hereof pursuant to the Applicable Rules.


                                           1
4855-2217-1216.v4
20-04172-lsg
 20-04172-lsg Doc
              Doc132
                  126 Filed
                      Filed03/16/23
                            02/14/23 Entered
                                     Entered03/16/23
                                             02/14/2316:40:35
                                                      12:42:36 Page
                                                               Page19
                                                                    1 of
                                                                      of14
                                                                         32
These Discovery Requests shall be deemed continuing, and supplemental responses

are required and must be provided pursuant to Fed. R. Bankr. P. 7026/Fed. R. Civ.

P. 26.

                           INSTRUCTIONS AND DEFINITIONS

         1.         In answering the following Discovery Requests, produce all of the

requested information and documents in either of the Defendants’ possession,

custody, or control.

         2.         These Discovery Requests are ongoing. If any information or

documents come to your attention or into your possession, custody, or control after

you have served your response, which information or documents were not included

in your response, such information or documents must be promptly furnished to the

undersigned.

         3.         The term “including” means including without limitation.

         4.         The terms “relate to” and “relating to” mean in any way concerning,

constituting, referring to, analyzing, discussing, describing, considering,

modifying, amending, confirming, endorsing, evidencing, representing, supporting,

qualifying, terminating, revoking, canceling, negating or listing, unless qualified by

a word of limitation. “Refer to” and “referring to” have the same meaning as stated

herein.

         5.         The term “explain” means provide a comprehensive, accurate, and


                                               2
4855-2217-1216.v4
20-04172-lsg
 20-04172-lsg Doc
              Doc132
                  126 Filed
                      Filed03/16/23
                            02/14/23 Entered
                                     Entered03/16/23
                                             02/14/2316:40:35
                                                      12:42:36 Page
                                                               Page20
                                                                    2 of
                                                                      of14
                                                                         32
detailed explanation of information requested in the propounded interrogatory.

        6.          The term “documents” means any medium upon which information is

or may be recorded, and refers to and includes, but is not limited to, the originals,

non-identical copies and drafts of the following, whether written, printed, typed,

digitally or electronically created and/or stored, magnetically recorded, optically

recorded, electronically recorded or reproduced by hand: correspondence,

memoranda,            publications,   sales   literature,   compilations,   inter-office

communications, records, summaries of personal conversations or interviews,

minutes, projections, statistical statements, drafts, contracts, agreements, purchase

orders, invoices, statements, books of account, ledgers, checks, wire transfers,

telegrams, telexes, telefaxes, e-mails (including e-mails not yet deleted, e-mails

deleted but not physically destroyed, e-mails maintained on system backup disks or

tapes, e-mails and text messages transmitted through any wireless networks, and

paper printouts of e-mails), voice-mails, books, notes, reports, logs, diaries, data,

tape recordings, transcripts of recordings, blueprints, charts, graphs, notebooks,

drawings, plans, films, photographs, videotapes, electronic files, computer

programs, computer hard drives, CDs, DVDs, discs, printouts, attachments and all

other tangible things.

        7.          The term “communication(s)” means any transmittal of information

(i.e., facts, ideas, inquiries, etc.), whether done orally, electronically, or in writing


                                              3
4855-2217-1216.v4
20-04172-lsg
 20-04172-lsg Doc
              Doc132
                  126 Filed
                      Filed03/16/23
                            02/14/23 Entered
                                     Entered03/16/23
                                             02/14/2316:40:35
                                                      12:42:36 Page
                                                               Page21
                                                                    3 of
                                                                      of14
                                                                         32
from one person or entity to another, or to oneself or to any file, archive or system,

including, but not limited to, any inquiries, discussions, conferences, electronic

mail, conversations, negotiations, agreements, meetings, interviews, telephone

conversations, letters, correspondence, notes (whether typed or handwritten),

telegrams, telexes or other forms of communication.

        8.          The term “Adversary Proceeding” shall mean the above captioned

adversary proceeding.

        9.          The term “Complaint” shall mean and refer to Plaintiff’s First

Amended Complaint in this matter.

        10.         The term “Interrogatories” shall mean and refer to these

Interrogatories.

        11.         The term “Answer” shall mean and refer to the Defendants’ Answer

to Plaintiff’s First Amended Complaint in this matter.

        12.         The term “Defendant Joseph” shall mean and refer to Defendant

Joseph DuMouchelle.

        13.         The term “Defendant Melinda” shall mean and refer to Defendant

Melinda Adducci.

        14.         The term “Defendants” shall mean and refer to Joseph DuMouchelle

and Melinda Adducci collectively.

        15.         The term “Plaintiff” means the plaintiff in this adversary proceeding,


                                                4
4855-2217-1216.v4
20-04172-lsg
 20-04172-lsg Doc
              Doc132
                  126 Filed
                      Filed03/16/23
                            02/14/23 Entered
                                     Entered03/16/23
                                             02/14/2316:40:35
                                                      12:42:36 Page
                                                               Page22
                                                                    4 of
                                                                      of14
                                                                         32
Thomas T. Ritter.

        16.         The terms “you,” “your,” “yours” shall mean and refer to both

Defendants or each Defendant specifically addressed in the particular Interrogatory.

        17.         The Term $1,800,000 Note” shall mean and refer to the promissory

note Defendants executed in Plaintiff’s favor dated August 3, 2018, in the principal

amount of $1,800,000 and identified as Exhibit 1 in Plaintiff’s Complaint.

        18.         The term “DuMouchelle Jewellers” shall mean and refer to Joseph

DuMouchelle Fine & Estate Jewellers, LLC, its Affiliates, as well as its current and

former agents, officers, directors, members, employees, representatives (including

attorneys and accountants), and all other persons acting or purporting to act on its

behalf.

        19.         The term “Affiliate(s)” includes but is not limited to DuMouchelle

Jewellers and any other foreign or domestic legal entity such as a corporation,

limited liability or other legal entity in which either Defendant or DuMouchelle

Jewellers has a direct or indirect interest or ownership in that is equal to or greater

than 10 percent of the entity’s membership, shares or other evidence of ownership

and shall also include any non-Defendant business partner, co-owner, co-venturer

or other business relationship by either Defendant or DuMouchelle Jewellers with

any non-Defendant natural persons or legal entities.

        20.         The “Chase Bank Account” shall mean and refer to the account titled


                                               5
4855-2217-1216.v4
20-04172-lsg
 20-04172-lsg Doc
              Doc132
                  126 Filed
                      Filed03/16/23
                            02/14/23 Entered
                                     Entered03/16/23
                                             02/14/2316:40:35
                                                      12:42:36 Page
                                                               Page23
                                                                    5 of
                                                                      of14
                                                                         32
to DuMouchelle Jewellers ending in 0024.

        21.         “Initial Disclosures” shall mean the initial disclosure statement you

filed on July 22, 2020, pursuant to Fed. R. Bankr. P. 7026/Fed. R. Civ. P. 26 at Dkt.

46.

        22.         “Second Initial Disclosures” shall mean the second disclosures you

filed on December 18, 2020 at Dkt. 80.

        23.         The term “identify” with respect to a person means to provide, to the

fullest extent possible, the person’s full name, present (or last known) home and

business address, home and business telephone and cell phone number, and last

known place of employment.

        24.         The term “identify” with respect to a document means to provide, to

the fullest extent possible, the (1) type; (2) general subject matter; (3) date; (4)

author(s); (5) addressee(s); and (6) any other recipient(s).

        25.         The term “identify” with respect to an inspection, communication or

other event, means (1) to state the date of such inspection, communication or other

event; (2) to identify each person participating therein and each person who was

present; (3) to state what was said by each participant in the course of such

inspection, communication or other event, or, if not known or recalled, the

substance; (4) to state whether there are any documents which set forth, summarize

or refer to any portions of such inspection, communication or other event; and (5)


                                                6
4855-2217-1216.v4
20-04172-lsg
 20-04172-lsg Doc
              Doc132
                  126 Filed
                      Filed03/16/23
                            02/14/23 Entered
                                     Entered03/16/23
                                             02/14/2316:40:35
                                                      12:42:36 Page
                                                               Page24
                                                                    6 of
                                                                      of14
                                                                         32
if such documents exist, to identify each such document and each person having

custody of the document.

        26.         If you consider any document or communication to be privileged,

separately with regard to each such document or communication, provide the

following information:

              (a)       Describe the contents generally and the date of the document or
                        communication;

              (b)       Explain fully the basis for the claimed privilege;

              (c)       Identify the author or maker and all signatures on the document or
                        communication;

              (d)       Identify all persons or entities who have, or have had, access to
                        any such matter referred to or involved in such document or
                        communication; and

              (e)       Identify the custodian of the original and all copies of the
                        document.

        27.         If the response to any request herein consists, in part or in whole, of

an objection relating to the specific request, state with particularity the nature of the

objection.

        28.         The term “any” shall include the collective as well as the singular and

shall mean “each”, “all”, and “every.” These terms shall be interchangeable.

        29.         The term “and” as well as the term “or” shall be construed either

disjunctively or conjunctively as necessary to bring within the scope of these

Discovery Requests information which might otherwise be construed to be outside

                                                 7
4855-2217-1216.v4
20-04172-lsg
 20-04172-lsg Doc
              Doc132
                  126 Filed
                      Filed03/16/23
                            02/14/23 Entered
                                     Entered03/16/23
                                             02/14/2316:40:35
                                                      12:42:36 Page
                                                               Page25
                                                                    7 of
                                                                      of14
                                                                         32
the scope of Discovery Requests.

        30.         All electronic data created by Defendants from January 1, 2014,

through present must be preserved. Please ensure that all current back-up tapes,

disks or drives are not rewritten. Stop any rotation, alteration and/or destruction of

electronic media that may result in the alteration or loss of any electronic data

relating to the issues in this lawsuit. Do not alter and/or erase active, deleted files

or file fragments on any electronic media that may have any relation to this matter.

Do not conduct any maintenance such as defragging, reformatting or upgrading any

hard drives that may contain data relevant to this litigation. Do not dispose of any

electronic media storage devices replaced due to failure and/or upgrade that may

contain electronic data having any relation to this matter.

        31.         All such electronically stored information must be produced in “native

format,” including all metadata.

                                    INTERROGATORIES

        1.          Provide the names of all current and prior members and officers

(including their titles) of DuMouchelle Jewellers, the date of admission of each

member and the term of each officership.

        2.          Provide a description of each expenditure, transfer and/or withdrawal

made (including the name and address of the recipient, the amount paid to such




                                                8
4855-2217-1216.v4
20-04172-lsg
 20-04172-lsg Doc
              Doc132
                  126 Filed
                      Filed03/16/23
                            02/14/23 Entered
                                     Entered03/16/23
                                             02/14/2316:40:35
                                                      12:42:36 Page
                                                               Page26
                                                                    8 of
                                                                      of14
                                                                         32
recipient and the assets received or the liability paid in exchange therefor), utilizing

the proceeds received from Plaintiff with respect to the $1,800,000 Note.

        3.          For each of the expenditures, transfers and/or withdrawals identified in

your response to Interrogatory No. 2, identify which of Defendants initiated, caused,

signed for or otherwise participated in each and which Defendants had

contemporaneous and/or after the fact knowledge of each.

        4.          As to each of the items of jewelry set forth on Exhibit A to the

$1,800,000 Note, identify: (a) the owner (including name and address) of each item

of jewelry on the date the $1,800,000 Note was executed; (b) the date each item of

jewelry was purchased by either of Defendants or its Affiliates and the amount paid;

(c) the date each item of jewelry was sold by either of Defendants or its Affiliates,

the amount received and the purchaser of each; and (e) the disposition made of the

proceeds received from each item of jewelry sold (including the bank name and

account number into which the proceeds were deposited and disbursed).

        5.          Explain the roles each Defendant played in each of the actions set forth

in Interrogatory No. 4. and which Defendants had contemporaneous and/or after the

fact knowledge of each action.

        6.          State who compiled and who typed the list of 16 items attached to the

$1,800,000 Note.




                                                9
4855-2217-1216.v4
20-04172-lsg
 20-04172-lsg Doc
              Doc132
                  126 Filed
                      Filed03/16/23
                            02/14/23 Entered
                                     Entered03/16/23
                                             02/14/2316:40:35
                                                      12:42:36 Page
                                                               Page27
                                                                    9 of
                                                                      of14
                                                                         32
         7.         State who compiled the photos contained in the October 31, 2018 email

from Joseph DuMouchelle attached to Plaintiff’s Amended Complaint and the

source of each of the photos.

         8.         Identify the current location of all computers and servers used by

Defendants or their Affiliates during the years 2016-2022 and if no longer in

Defendants’ or their Affiliates’ possession, the disposition made of each, the date of

disposition and the method of disposition.

         9.         Provide all valid usernames and corresponding passwords to all cloud-

based systems used by Defendants or their Affiliates during the years 2016-2022,

including QuickBooks, RMC, RFC, and ACT.

         10.        Identify all documents upon which you will rely upon at the time of

trial.

         11.        Identify all communications (name of person, whether by email, text or

phone and the substance of each communication) between either of Defendants and

Plaintiff, related to or touching upon the transactions by and between either of

Defendants and Plaintiff, for the period of January 1, 2018 through December 31,

2019, including all correspondence, emails, email attachments, phone discussions

and text messages.

         12.        Identify all communications (name of person, whether by email, text or

phone and the substance of each communication) between either of Defendants and


                                                 10
4855-2217-1216.v4
20-04172-lsg          Doc 132
                          126   Filed 03/16/23
                                      02/14/23    Entered 03/16/23
                                                          02/14/23 16:40:35
                                                                   12:42:36   Page 28
                                                                                   10 of 32
                                                                                         14
any family members of Defendants (including children, in-laws, sisters, brothers and

parents) related to or touching upon the transactions by and between either of

Defendants and Plaintiff, for the period of January 1, 2018 through today’s date.

        13.         Identify the exact location, description and value of all assets of

Defendants or their Affiliates and/or of DuMouchelle Jewellers not within the

custody of the trustees in Defendants’ or DuMouchelle Jewellers bankruptcy cases,

in existence as of the date of filing of Defendants’ and DuMouchelle Jewellers’

bankruptcy proceedings, including all cash, certificates of deposit, jewelry, gems,

gemstones, real property, personal property, stocks, bonds, mutual funds, cash, debit

cards, crypto currencies, gift cards, and/or other cash equivalents and safety deposit

boxes and safes.

        14.         Identify the persons funding Defendants’ defense of this litigation.

                                 REQUESTS TO PRODUCE

        1.          Produce the Operating Agreement and all amendments to the same of

DuMouchelle Jewellers.

        2.          Produce all documents referenced in the “briefcase” of documents

Defendant Joseph intended to share with his criminal counsel, but never reviewed,

alleged to have existed in the filings may by Joseph in his criminal proceeding.

        3.          Produce the signature cards to the Chase Account ending in 0024 held

by or for the benefit of either or both Defendants or DuMouchelle Jewellers.


                                                  11
4855-2217-1216.v4
20-04172-lsg          Doc 132
                          126    Filed 03/16/23
                                       02/14/23    Entered 03/16/23
                                                           02/14/23 16:40:35
                                                                    12:42:36   Page 29
                                                                                    11 of 32
                                                                                          14
        4.          Produce all documents you intend to rely upon at the time of trial.

        5.          Produce all communications in Defendant’s possession between

Plaintiff and either of Defendants.

        6.          Produce all documents referenced or relied upon in preparing your

responses to the Interrogatories.

        7.          Produce all computers and computer servers utilized or accessed by

either of Defendants or their employees during the period 2016-2022, including

those owned personally and those of DuMouchelle Jewellers.

                                       Respectfully submitted by:

                                       TAFT STETTINIUS & HOLLISTER LLP

Dated: February 14, 2023               By: /s/ Jay L. Welford
                                       Jay L. Welford (P34471)
                                       Kimberly Ross Clayson (P69804)
                                       Counsel to Plaintiff
                                       27777 Franklin Road, Suite 2500
                                       Southfield, Michigan 48034
                                       Phone: (248) 351-3000
                                       jwelford@taftlaw.com
                                       kclayson@taftlaw.com




                                                  12
4855-2217-1216.v4
20-04172-lsg          Doc 132
                          126    Filed 03/16/23
                                       02/14/23    Entered 03/16/23
                                                           02/14/23 16:40:35
                                                                    12:42:36   Page 30
                                                                                    12 of 32
                                                                                          14
                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:
                                                           Chapter 7
Joseph G. DuMouchelle and
Melinda J. Adducci                                         Case No. 19-54531-lsg

                                                           Honorable Lisa S. Gretchko
          Debtors.
____________________________________/

Thomas T. Ritter

                    Plaintiff,

v.

Joseph G. DuMouchelle and                                  Adversary Pro. No. 20-04381
Melinda J. Adducci

     Defendants.
____________________________________/

                                 CERTIFICATE OF SERVICE

         I hereby certify that on February 14, 2023, my office caused to be served a

copy of the Plaintiff’s First Set Of Interrogatories And Document Requests To

Defendants and this Certificate of Service by email on Counsel for the Defendants,

Patrick A. Foley at pafoley@jrfpc.net, and by using the Court’s electronic filing

system which will send notice to all ECF participants registered to receive notice.




                                                  1
4855-2217-1216.v4
20-04172-lsg           Doc 132
                           126   Filed 03/16/23
                                       02/14/23   Entered 03/16/23
                                                          02/14/23 16:40:35
                                                                   12:42:36   Page 31
                                                                                   13 of 32
                                                                                         14
                                    Respectfully submitted by:

                                    TAFT STETTINIUS & HOLLISTER LLP

Dated: February 14, 2023            By: /s/ Jay L. Welford
                                    Jay L. Welford (P34471)
                                    Kimberly Ross Clayson (P69804)
                                    Counsel to Plaintiff
                                    27777 Franklin Road, Suite 2500
                                    Southfield, Michigan 48034
                                    Phone: (248) 351-3000
                                    jwelford@taftlaw.com
                                    kclayson@taftlaw.com




                                               2
4855-2217-1216.v4
20-04172-lsg        Doc 132
                        126   Filed 03/16/23
                                    02/14/23   Entered 03/16/23
                                                       02/14/23 16:40:35
                                                                12:42:36   Page 32
                                                                                14 of 32
                                                                                      14
